                        Case 15-21203                         Doc 1         Filed 06/19/15 Entered 06/19/15 09:19:18                                                  Desc Main
B1 (Official Form 1)(04/13)
                                                                              Document     Page 1 of 51
                                                  United States Bankruptcy Court
                                                          Northern District of Illinois                                                                            Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Hork, Donald                                                                                                 Hork, Janet


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-4021                                                                                                  xxx-xx-7373
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  3420 N. Old Arlington Heights Rd.                                                                           3420 N. Old Arlington Heights Rd.
  Apt. 306                                                                                                    Apt. 306
  Arlington Heights, IL                                                                    ZIP Code           Arlington Heights, IL                                                        ZIP Code
                                                                                         60004                                                                                         60004
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Cook                                                                                                         Cook
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                 Case 15-21203                 Doc 1          Filed 06/19/15 Entered 06/19/15 09:19:18                                       Desc Main
B1 (Official Form 1)(04/13)
                                                                Document     Page 2 of 51                                                                                  Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Hork, Donald
(This page must be completed and filed in every case)                                  Hork, Janet
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Justin R. Storer                                     June 16, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Justin R. Storer 6293889

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                    Case 15-21203                  Doc 1         Filed 06/19/15 Entered 06/19/15 09:19:18                                        Desc Main
Bl (Official Form 1)(04/13)                                        Document     Page 3 of 51                                                                                    »e3

Voluntary Petition                                                                          Name of Debtors):
                                                                                              Hork, Donald
(This page mustbe completed andfiled in every case)                                           Hork, Janet
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
  /
      I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
      petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
      [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
      has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                              (Check only one box.)
      chapter 7, 11,12, or 13 of title 11, United States Code, understand the relief
      available under each such chapter, and choose to proceed under chapter 7.               fj I request relief in accordance with chapter 15 of title 11. United States Code.
      [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
      petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                              • Pursuant to 11 U.S.C. §1511,1 request relief in accordance with the chapter
      I request relief in accordance with the chapter of title 11, United States Code,          of title 11 specified in this petition. A certified copy of the order granting
      specified in mis^petition.                                                                recognition of the foreign main proceeding is attached.



                                                                                                 Signature of Foreign Representative


 X                     i~j£t X^Wl,                                                               Printed Name of Foreign Representative
      Signature of Joint Debtor Janet Hork
                                                                                                 Date
      Telephone Number (If not represented by attorney)                                             Signature of Non-Attorney Bankruptcy Petition Preparer
       June 16,2015
                                                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy petition
      Date                                                                                       preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                 compensation and have provided the debtor with a copy of this document
                                                                                                 and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                 110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                                 pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                                                 chargeable by bankruptcy petition preparers, I have given the debtor notice
      Signature of Attorney for Debtors)                                                         of the maximum amount before preparing any document for filing for a
       Justin R. Storef 6293889
                                                                                                 debtor or accepting any fee from the debtor, as required in that section.
                                                                                                 Official Form 19 is attached.
      Printed Name of Attorney for Debtors)
       Lakelaw
                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
      Firm Name
       6905 Green Bay Road, Ste. 101
       Kenosha, Wl 53142                                                                         Social-Security number (If the bankrutpcy petition preparer is not
                                                                                                 an individual, state the Social Security number of the officer,
                                                                                                 principal, responsible person or partner of the bankruptcy petition
      Address                                                                                    preparer.)(Required by 11 U.S.C. § 110.)

                                             Email: rblay@lakelaw.com
       262-694-7300 Fax: 262-694-7301
      Telephone Number
       June 16,2015
                                                                                                 Address
      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
      certificationthat the attorney has no knowledge after an inquiry that the              X
      information in the schedules is incorrect

                                                                                                 Date
                 Signature of Debtor (Corporation/Partnership)
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible
      I declare under penalty of perjury that the information provided in this                   person,or partner whose Social Security number is provided above.
      petition is true and correct, and that I have been authorized to file this petition
      on behalf of the debtor.                                                                   Names and Social-Security numbers of all other individuals who prepared or
                                                                                                 assisted in preparing this document unless the bankruptcy petition preparer is
      The debtor requests relief in accordance with the chapter of title 11, United              not an individual:
      States Code, specified in this petition.



       Signature of Authorized Individual
                                                                                                 If more than one person prepared this document, attach additional sheets
                                                                                                 conforming to the appropriate official form for each person.
       Printed Name of Authorized Individual
                                                                                                 A bankruptcy petition preparer'sfailure to comply withtheprovisions of
                                                                                                  title II and the Federal Rules ofBankruptcy Procedure may result in
       Title of Authorized Individual
                                                                                                 fines or imprisonment or both. II U.S.C. §110; 18 U.S.C. §156.

       Date
                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18           Desc Main
                                                                   Document     Page 4 of 51


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            Donald Hork
 In re      Janet Hork                                                                               Case No.
                                                                                  Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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                  Case 15-21203                       Doc 1          Filed 06/19/15 Entered 06/19/15 09:19:18   Desc Main
                                                                       Document     Page 5 of 51


B 1D (Official Form 1,Exhibit D)(12/09) - Cont.                                                                               Page 2


      • 4.1 am not required to receive a creditcounseling briefingbecause of: [Check the applicable
statement] [Mustbe accompanied by a motionfor determination by the court]
             • Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
      deficiency so as to be incapable ofrealizing and making rational decisions with respect to financial
            responsibilities.);
                   • Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent ofbeing
            unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
            through the Internet.);
                   • Active military duty in a military combat zone.

       • 5. The United States trustee or bankruptcy administratorhas determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

            I certify under penalty of perjury thatthe informajjtfn provjtoed abgve is^true and correct.

                                                      Signature of Debtor:
                                                                                   iSidHort
                                                      Date:         June 16,2015




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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18           Desc Main
                                                                   Document     Page 6 of 51


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
            Donald Hork
 In re      Janet Hork                                                                               Case No.
                                                                                  Debtor(s)          Chapter    7




                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.

         3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.


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                  Case 15-21203                      Doc 1          Filed 06/19/15 Entered 06/19/15 09:19:18   Desc Main
                                                                      Document     Page 7 of 51


B 1D(OfficialForm 1, Exhibit D) (12/09) - Cont.                                                                               Page2



      • 4.1 am not required to receive a credit counseling briefing because of: [Check the applicable
statement] [Must be accompanied by a motion for determination by the court]
              D Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
      deficiency so as to be incapable ofrealizing and making rational decisions with respect to financial
      responsibilities.);
              • Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent ofbeing
      unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
      through the Internet.);
              • Active military duty in a military combat zone.

            • 5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

            I certify under penalty of perjury that the information provided above is true and correct.

                                                     Signature ofDebtor:          \J^/2.^aJ^ /¥^Vf
                                                     Date:         June 16,2015




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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                 Desc Main
                                                                         Document     Page 8 of 51
B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re          Donald Hork,                                                                                   Case No.
                 Janet Hork
                                                                                                         ,
                                                                                        Debtors                 Chapter                   7




                                                                   SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED            NO. OF          ASSETS                 LIABILITIES              OTHER
                                                         (YES/NO)           SHEETS

A - Real Property                                              Yes             1                         0.00


B - Personal Property                                          Yes             4                    7,824.21


C - Property Claimed as Exempt                                 Yes             1


D - Creditors Holding Secured Claims                           Yes             1                                                0.00


E - Creditors Holding Unsecured                                Yes             1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes             3                                          128,846.50
    Nonpriority Claims

G - Executory Contracts and                                    Yes             1
   Unexpired Leases

H - Codebtors                                                  Yes             1


I - Current Income of Individual                               Yes             2                                                                   4,182.78
    Debtor(s)

J - Current Expenditures of Individual                         Yes             2                                                                   4,087.65
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                     17


                                                                         Total Assets               7,824.21


                                                                                          Total Liabilities               128,846.50




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                     Case 15-21203                    Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                  Desc Main
                                                                         Document     Page 9 of 51
B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                        Northern District of Illinois
  In re           Donald Hork,                                                                                        Case No.
                  Janet Hork
                                                                                                           ,
                                                                                        Debtors                       Chapter               7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)                                                       0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                   0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                   0.00

              Student Loan Obligations (from Schedule F)                                                           0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                   0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                   0.00

                                                                              TOTAL                                0.00


              State the following:

              Average Income (from Schedule I, Line 12)                                                        4,182.78

              Average Expenses (from Schedule J, Line 22)                                                      4,087.65

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )                                                       3,234.29


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                          0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                   0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                             128,846.50

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         128,846.50




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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18               Desc Main
                                                                        Document     Page 10 of 51
B6A (Official Form 6A) (12/07)


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  In re         Donald Hork,                                                                                   Case No.
                Janet Hork
                                                                                                      ,
                                                                                        Debtors
                                                              SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                      Husband,    Current Value of
                                                                              Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                          Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                     Community Deducting  any Secured
                                                                                                                 Claim or Exemption




                       None




                                                                                                      Sub-Total >               0.00          (Total of this page)

                                                                                                           Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                      (Report also on Summary of Schedules)
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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                        Document     Page 11 of 51
B6B (Official Form 6B) (12/07)


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  In re         Donald Hork,                                                                                         Case No.
                Janet Hork
                                                                                                         ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        X

2.    Checking, savings or other financial                    Personal checking account w/ Chase                                J                            44.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                      Checking account w/ Chase in name of of Donald B.                 H                            55.21
      thrift, building and loan, and                          Hork Enterprises
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                       X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                        Basic household goods, furniture, consumer                        J                        2,100.00
      including audio, video, and                             electronics, kitchenware, barbeque grill
      computer equipment.

5.    Books, pictures and other art                           Lithographs and other household decor                             J                        2,500.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                        Necessary wearing apparel                                         J                           500.00

7.    Furs and jewelry.                                       Costume jewelry, wristwatches                                     J                           300.00

8.    Firearms and sports, photographic,                      Exercise bike                                                     J                            15.00
      and other hobby equipment.

9.    Interests in insurance policies.                        Term life insurance for which debtors pay directly                J                              0.00
      Name insurance company of each                          through AARP
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                      X
    issuer.




                                                                                                                                Sub-Total >            5,514.21
                                                                                                                    (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                        Document     Page 12 of 51
B6B (Official Form 6B) (12/07) - Cont.




  In re         Donald Hork,                                                                                         Case No.
                Janet Hork
                                                                                                         ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                      X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                        (Pensons from which joint debtor is currently                     J                      Unknown
    other pension or profit sharing                           drawing income)
    plans. Give particulars.

13. Stock and interests in incorporated                   X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                        "Donald B. Hork Enterprises," just a dba for sales                J                            20.00
    ventures. Itemize.                                        transactions, not incorporated at IL SOS, only
                                                              perhaps $20 in outstanding receivables

15. Government and corporate bonds                        X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                      American Wiper and Supply, of Milwaukee, WI,                      J                              0.00
                                                              owes debtor $1700, no chance of collecting

17. Alimony, maintenance, support, and                    X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                   X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                          X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                Sub-Total >                20.00
                                                                                                                    (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                        Document     Page 13 of 51
B6B (Official Form 6B) (12/07) - Cont.




  In re         Donald Hork,                                                                                         Case No.
                Janet Hork
                                                                                                         ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                     X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                        X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                       X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                  X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                        2005 Honda Accord w/ 197k miles                                   J                        2,000.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                       X

27. Aircraft and accessories.                             X

28. Office equipment, furnishings, and                    X
    supplies.

29. Machinery, fixtures, equipment, and                   X
    supplies used in business.

30. Inventory.                                                Inventory for Donald B. Hork Enterprises (seven                   H                           250.00
                                                              rolls of aircraft cable, cleaning supplies, brake lathe
                                                              bits)

31. Animals.                                              X

32. Crops - growing or harvested. Give                    X
    particulars.

33. Farming equipment and                                 X
    implements.

34. Farm supplies, chemicals, and feed.                   X



                                                                                                                                Sub-Total >            2,250.00
                                                                                                                    (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                        Document     Page 14 of 51
B6B (Official Form 6B) (12/07) - Cont.




  In re         Donald Hork,                                                                                         Case No.
                Janet Hork
                                                                                                         ,
                                                                                        Debtors
                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                          N                                                                 Husband,        Current Value of
                Type of Property                          O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                          N                                                                  Joint, or   without Deducting any
                                                          E                                                                Community Secured Claim or Exemption

35. Other personal property of any kind                       Ebay store online; debtor procures inventory                       J                             0.00
    not already listed. Itemize.                              wholesale when items sold, running at a loss when
                                                              considering costs of sale, etc.

                                                              Anticipated refund of attorneys' fees                              J                           40.00




                                                                                                                                Sub-Total >                40.00
                                                                                                                    (Total of this page)
                                                                                                                                     Total >           7,824.21
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                            (Report also on Summary of Schedules)
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                     Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                              Desc Main
                                                                         Document     Page 15 of 51
 B6C (Official Form 6C) (4/13)


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   In re         Donald Hork,                                                                                           Case No.
                 Janet Hork
                                                                                                            ,
                                                                                        Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                   $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                        with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                   Description of Property                                         Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Personal checking account w/ Chase                735 ILCS 5/12-1001(b)                                                                   44.00                            44.00

Checking account w/ Chase in name of of                                    735 ILCS 5/12-1001(b)                                          55.21                            55.21
Donald B. Hork Enterprises

Household Goods and Furnishings
Basic household goods, furniture, consumer                                 735 ILCS 5/12-1001(b)                                      2,100.00                         2,100.00
electronics, kitchenware, barbeque grill

Books, Pictures and Other Art Objects; Collectibles
Lithographs and other household decor               735 ILCS 5/12-1001(b)                                                             2,500.00                         2,500.00

Wearing Apparel
Necessary wearing apparel                                                  735 ILCS 5/12-1001(a)                                        500.00                           500.00

Furs and Jewelry
Costume jewelry, wristwatches                                              735 ILCS 5/12-1001(b)                                        300.00                           300.00

Firearms and Sports, Photographic and Other Hobby Equipment
Exercise bike                                   735 ILCS 5/12-1001(b)                                                                     15.00                            15.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
(Pensons from which joint debtor is currently       735 ILCS 5/12-1006                                                                      0.00                     Unknown
drawing income)

Interests in Partnerships or Joint Ventures
"Donald B. Hork Enterprises," just a dba for                               735 ILCS 5/12-1001(b)                                          20.00                            20.00
sales transactions, not incorporated at IL SOS,
only perhaps $20 in outstanding receivables

Automobiles, Trucks, Trailers, and Other Vehicles
2005 Honda Accord w/ 197k miles                                            735 ILCS 5/12-1001(c)                                      2,000.00                         2,000.00

Inventory
Inventory for Donald B. Hork Enterprises (seven                            735 ILCS 5/12-1001(b)                                        250.00                           250.00
rolls of aircraft cable, cleaning supplies, brake
lathe bits)

Other Personal Property of Any Kind Not Already Listed
Anticipated refund of attorneys' fees             735 ILCS 5/12-1001(b)                                                                   40.00                            40.00




                                                                                                            Total:                    7,824.21                         7,824.21
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                            Desc Main
                                                                        Document     Page 16 of 51
 B6D (Official Form 6D) (12/07)


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  In re         Donald Hork,                                                                                                 Case No.
                Janet Hork
                                                                                                                ,
                                                                                                 Debtors
                                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                            C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                O                                                            O    N   I
                                                            D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT            UNSECURED
           INCLUDING ZIP CODE,                              B   W              NATURE OF LIEN, AND                       I    Q   U                          PORTION, IF
                                                            T   J             DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                         DEDUCTING
          AND ACCOUNT NUMBER                                O                                                            G    I   E       VALUE OF              ANY
            (See instructions above.)
                                                                C                  OF PROPERTY
                                                            R
                                                                                  SUBJECT TO LIEN
                                                                                                                         E    D   D     COLLATERAL
                                                                                                                         N    A
                                                                                                                         T    T
Account No.                                                                                                                   E
                                                                                                                              D




                                                                       Value $
Account No.




                                                                       Value $
Account No.




                                                                       Value $
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                                                                       Value $
                                                                                                                      Subtotal
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_____ continuation sheets attached
                                                                                                             (Total of this page)
                                                                                                                         Total                   0.00                      0.00
                                                                                               (Report on Summary of Schedules)

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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                                        Desc Main
                                                                        Document     Page 17 of 51
B6E (Official Form 6E) (4/13)


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  In re         Donald Hork,                                                                                                       Case No.
                Janet Hork
                                                                                                                      ,
                                                                                                Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                             0         continuation sheets attached
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                     Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                             Desc Main
                                                                         Document     Page 18 of 51
 B6F (Official Form 6F) (12/07)


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   In re         Donald Hork,                                                                                            Case No.
                 Janet Hork
                                                                                                                  ,
                                                                                                Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,                                     E               DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                             W
                AND ACCOUNT NUMBER
                                                                         B             CONSIDERATION FOR CLAIM. IF CLAIM                    I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                         T   J                                                              N   U   T
                                                                         O               IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R
                                                                             C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                      Trade debt                                                 T   T
                                                                                                                                                E
                                                                                                                                                D

B E Atlas Co.
4300 N. Kilpatrick Ave                                                       J
Chicago, IL 60641

                                                                                                                                                                         350.00
Account No.                                                                      First mortgage lender on foreclosed property,
                                                                                 sold home appx. January '15
BAC Home Loans Servicing
18 Tapo Canyon                                                               J
Simi Valley, CA 93063

                                                                                                                                                                             0.00
Account No.                                                                      Overdraft protection

BMO Harris Bank Loan Servicing
PO Box 2880                                                                  J
Chicago, IL 60690

                                                                                                                                                                       5,000.00
Account No.                                                                      Unsecured debt

Bruce Johnson
2200 N. Pulaski                                                              H
Chicago, IL 60639

                                                                                                                                                                       4,000.00

                                                                                                                                        Subtotal
 2
_____ continuation sheets attached                                                                                                                                     9,350.00
                                                                                                                              (Total of this page)




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                     Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                      Desc Main
                                                                         Document     Page 19 of 51
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Donald Hork,                                                                                         Case No.
                 Janet Hork
                                                                                                                  ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                      C   U   D
                   CREDITOR'S NAME,                                      O                                                           O   N   I
                   MAILING ADDRESS                                       D   H                                                       N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                         B                                                           I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                  (See instructions above.)                              R                                                           E   D   D
                                                                                                                                     N   A
                                                                                                                                     T   T
Account No.                                                                      Credit card debt                                        E
                                                                                                                                         D

Citgo/Citibank
PO Box 6497                                                                  J
Sioux Falls, SD 57117

                                                                                                                                                             2,356.00
Account No.                                                                      Credit card debt

DSNB/Macy's
PO Box 8218                                                                  J
Mason, OH 45050

                                                                                                                                                             4,324.00
Account No.                                                                      Representing BMO Harris for collection of
                                                                                 debt showing as "Harris T&S" on this
Ehrenberg & Egan                                                                 schedule
321 N. Clark                                                                 J
#1430
Chicago, IL 60654
                                                                                                                                                                   0.00
Account No.                                                                      Junior mortgage on foreclosed property

Harris T&S
PO Box 755                                                                   J
Chicago, IL 60690

                                                                                                                                                         103,745.00
Account No.                                                                      Business debt

SOS Surplus, Inc.
1832 Eastwood                                                                H
Highland Park, IL 60035

                                                                                                                                                             3,500.00

           1
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                            Subtotal
                                                                                                                                                         113,925.00
Creditors Holding Unsecured Nonpriority Claims                                                                           (Total of this page)




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                     Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                             Desc Main
                                                                         Document     Page 20 of 51
 B6F (Official Form 6F) (12/07) - Cont.




   In re         Donald Hork,                                                                                               Case No.
                 Janet Hork
                                                                                                                   ,
                                                                                                Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




                                                                         C   Husband, Wife, Joint, or Community                             C   U   D
                   CREDITOR'S NAME,                                      O                                                                  O   N   I
                   MAILING ADDRESS                                       D   H                                                              N   L   S
                 INCLUDING ZIP CODE,
                                                                         E
                                                                             W
                                                                                         DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                         B                                                                  I   Q   U
                AND ACCOUNT NUMBER                                       T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                         O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                  (See instructions above.)                              R                                                                  E   D   D
                                                                                                                                            N   A
                                                                                                                                            T   T
Account No.                                                                      Services rendered                                              E
                                                                                                                                                D

Tahoe Automotive
1798 W Hintz Rd                                                              H
Wheeling, IL 60090

                                                                                                                                                                      399.00
Account No.                                                                      Home improvement loan, may have been
                                                                                 secured by real estate
Village of Arlington Heights
33 S. Arlington Heights Road                                                 J
Arlington Heights, IL 60005

                                                                                                                                                                    4,412.50
Account No.                                                                      Unsecured debt

Wipeco
250 N. Mannheim Rd.                                                          H
Unit B
Hillside, IL 60162
                                                                                                                                                                      760.00
Account No.




Account No.




           2
Sheet no. _____     2
                of _____ sheets attached to Schedule of                                                                                   Subtotal
                                                                                                                                                                    5,571.50
Creditors Holding Unsecured Nonpriority Claims                                                                                  (Total of this page)
                                                                                                                                            Total
                                                                                                                  (Report on Summary of Schedules)              128,846.50


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                       Case 15-21203                  Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18                   Desc Main
                                                                        Document     Page 21 of 51
B6G (Official Form 6G) (12/07)


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  In re             Donald Hork,                                                                                Case No.
                    Janet Hork
                                                                                                      ,
                                                                                    Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                    Case 15-21203                     Doc 1            Filed 06/19/15 Entered 06/19/15 09:19:18            Desc Main
                                                                        Document     Page 22 of 51
B6H (Official Form 6H) (12/07)


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  In re          Donald Hork,                                                                            Case No.
                 Janet Hork
                                                                                               ,
                                                                                    Debtors
                                                                  SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                         NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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                      Case 15-21203         Doc 1         Filed 06/19/15 Entered 06/19/15 09:19:18                           Desc Main
                                                           Document     Page 23 of 51


Fill in this information to identify your case:

Debtor 1                      Donald Hork

Debtor 2                      Janet Hork
(Spouse, if filing)


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition chapter
                                                                                                            13 income as of the following date:

Official Form B 6I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
                                                                     Not employed                               Not employed
       information about additional
       employers.
                                             Occupation                                                       Substitute Teacher
       Include part-time, seasonal, or
       self-employed work.                                                                                    Community Consolidated School
                                             Employer's name                                                  Dist. 21
       Occupation may include student
       or homemaker, if it applies.          Employer's address



                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $             0.00    $           719.00

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00    +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $          0.00           $    719.00




Official Form B 6I                                                      Schedule I: Your Income                                                 page 1
              Case 15-21203             Doc 1       Filed 06/19/15 Entered 06/19/15 09:19:18                                   Desc Main
                                                     Document     Page 24 of 51

Debtor 1    Donald Hork
Debtor 2    Janet Hork                                                                            Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $           719.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $              0.00     $             42.21
      5b.   Mandatory contributions for retirement plans                                   5b.     $              0.00     $              0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $              0.00     $              0.00
      5d.   Required repayments of retirement fund loans                                   5d.     $              0.00     $              0.00
      5e.   Insurance                                                                      5e.     $              0.00     $              0.00
      5f.   Domestic support obligations                                                   5f.     $              0.00     $              0.00
      5g.   Union dues                                                                     5g.     $              0.00     $              0.00
      5h.   Other deductions. Specify:                                                     5h.+    $              0.00 +   $              0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $             42.21
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $            676.79
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                 0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                 0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $             0.00      $              0.00
      8d. Unemployment compensation                                                        8d.     $             0.00      $              0.00
      8e. Social Security                                                                  8e.     $           836.00      $            155.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $              0.00
      8g. Pension or retirement income                                                     8g. $                  0.00   $          1,637.67
      8h. Other monthly income. Specify: IMRF                                              8h.+ $                 0.00 + $            877.32

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            836.00      $            2,669.99

10. Calculate monthly income. Add line 7 + line 9.                                     10. $             836.00 + $        3,346.78 = $             4,182.78
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          4,182.78
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form B 6I                                                    Schedule I: Your Income                                                        page 2
              Case 15-21203                 Doc 1         Filed 06/19/15 Entered 06/19/15 09:19:18                                     Desc Main
                                                           Document     Page 25 of 51


Fill in this information to identify your case:

Debtor 1                  Donald Hork                                                                        Check if this is:
                                                                                                                 An amended filing
Debtor 2                  Janet Hork                                                                             A supplement showing post-petition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS                                              MM / DD / YYYY

Case number                                                                                                           A separate filing for Debtor 2 because Debtor
(If known)                                                                                                            2 maintains a separate household



Official Form B 6J
Schedule J: Your Expenses                                                                                                            12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
         No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
      and Debtor 2.                                 each dependent..............    Debtor 1 or Debtor 2                 age                live with you?
      Do not state the                                                                                                                        No
      dependents' names.                                                                                                                      Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 6I.)                                                                                                           Your expenses

4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                             1,575.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.   $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.   $                                9.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.   $                               25.00
      4d. Homeowner’s association or condominium dues                                                       4d.   $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.   $                                0.00




Official Form B 6J                                                    Schedule J: Your Expenses                                                   page 1
            Case 15-21203                  Doc 1          Filed 06/19/15 Entered 06/19/15 09:19:18                                       Desc Main
                                                           Document     Page 26 of 51

Debtor 1     Donald Hork
Debtor 2     Janet Hork                                                                                 Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                     70.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                      0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    245.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   433.00
8.    Childcare and children’s education costs                                                8. $                                                     0.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                    25.00
10.   Personal care products and services                                                   10. $                                                     25.00
11.   Medical and dental expenses                                                           11. $                                                    500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    250.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                      0.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     44.65
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                     86.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Not withheld from pension                                                    16. $                                                    800.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Your monthly expenses. Add lines 4 through 21.                                                            22.      $                       4,087.65
    The result is your monthly expenses.
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               4,182.78
    23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              4,087.65

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                   95.13

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes. Explain:     Donald B. Hork Enterprises loses money; figures herein disclosed presume cessation of business




Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
                Case 15-21203                    Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18        Desc Main
                                                                  Document     Page 27 of 51
B6 Declaration (Official Form 6 • Declaration). (12/07)

                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois

            Donald Hork
 In re      Janet Hork                                                                                Case No.
                                                                                   Debtor(s)          Chapter




                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES


                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of      18
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 16, 2015                                                    Signature




 Date June 16,2015                                                     Signature                  an^Ot M^>
                                                                                   Janet Hort
                                                                                   Joint Debtor

    Penaltyfor makingafalse statementor concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                      18U.S.C. §§ 152 and 3571.




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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18                         Desc Main
                                                                  Document     Page 28 of 51
B7 (Official Form 7) (04/13)



                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
             Donald Hork
 In re       Janet Hork                                                                                        Case No.
                                                                                  Debtor(s)                    Chapter        7

                                                       STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $4,562.00                             2015 YTD: Wife Employment
                          $10,244.00                            2014: Wife Employment

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                SOURCE
                          $0.00                                 Social security and pensions; see schedule I
                          $0.00                                 Donald B. Hork Enterprises loses money consistently

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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18                     Desc Main
                                                                  Document     Page 29 of 51

B7 (Official Form 7) (04/13)
2

               3. Payments to creditors

      None     Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
               services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
               aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
               payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
               a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
               include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
               not filed.)

 NAME AND ADDRESS                                                      DATES OF                                                         AMOUNT STILL
    OF CREDITOR                                                        PAYMENTS                               AMOUNT PAID                 OWING

      None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                   AMOUNT
                                                                       DATES OF                                     PAID OR
                                                                       PAYMENTS/                                  VALUE OF              AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                          TRANSFERS                                 TRANSFERS                OWING

      None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                           DATE OF PAYMENT                        AMOUNT PAID                 OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

      None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                      NATURE OF         COURT OR AGENCY                                   STATUS OR
 AND CASE NUMBER                                                      PROCEEDING        AND LOCATION                                      DISPOSITION
 BAC Home Loans Servicing v. Hork                                     Foreclosure       Circuit Court of Cook County                      Judgment
 2011-CH-14827                                                                                                                            entered,
                                                                                                                                          property sold,
                                                                                                                                          sale approved
 BMO Harris v. Hork                                                   Contract          Circuit Court of Cook County                      Pending
 2015-L-2681

      None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                       DATE OF SEIZURE               PROPERTY




  *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18                     Desc Main
                                                                  Document     Page 30 of 51

B7 (Official Form 7) (04/13)
3
               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                      DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                    FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                   TRANSFER OR RETURN                PROPERTY
 BAC Home Loans Servicing                                                                      3042 Huntington Drive, Arlington Heights, sold
                                                                                               at foreclosure sale

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                               NAME AND LOCATION
 NAME AND ADDRESS                                                   OF COURT                     DATE OF            DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                CASE TITLE & NUMBER               ORDER                    PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                 DATE OF GIFT             VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                              DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                        LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                 BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS
 Drywall, paneling, insulation, suitcases                                Basement flood (electricity went out and so sump 2011
                                                                         pump went out); Debtors were issued a $9273.35
                                                                         check payable to them, BAC, and BMO Harris,
                                                                         never negotiated, funds escheated to state of
                                                                         Illinois; debtors will cooperate with party in
                                                                         interest seeking to retreive money




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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                  Document     Page 31 of 51

B7 (Official Form 7) (04/13)
4
               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                        DATE OF PAYMENT,                                    AMOUNT OF MONEY
 NAME AND ADDRESS                                                     NAME OF PAYER IF OTHER                            OR DESCRIPTION AND VALUE
    OF PAYEE                                                              THAN DEBTOR                                           OF PROPERTY
 www.debtorcc.org                                                                                                      $9.95 for prepetition credit
                                                                                                                       counseling
 Lakelaw                                                              6/16/15                                          $1975 ($40 to be refunded as
 420 W. Clayton St                                                                                                     overpayment), for $1600
 Waukegan, IL 60085                                                                                                    attorneys' fees and $335
                                                                                                                       chapter 7 filing fee

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                           DATE                              AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                               DATE(S) OF                 VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                      TRANSFER(S)                IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                        TYPE OF ACCOUNT, LAST FOUR
                                                                        DIGITS OF ACCOUNT NUMBER,                       AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                       AND AMOUNT OF FINAL BALANCE                             OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                          NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION           DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS            SURRENDER, IF ANY
 Chase Bank                                               (debtors)                               Personal papers of no
                                                                                                  value




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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18                     Desc Main
                                                                  Document     Page 32 of 51

B7 (Official Form 7) (04/13)
5
               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                         DATE OF SETOFF                                   AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY               LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                              NAME USED                                        DATES OF OCCUPANCY
 3042 Huntington Dr.                                                                                                   Oct. 1971 - Aug. 2014
 Arlington Heights, IL 60005

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
               operated by the debtor, including, but not limited to, disposal sites.

               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
               pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                          NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW




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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                  Document     Page 33 of 51

B7 (Official Form 7) (04/13)
6
   None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                      DOCKET NUMBER                                   STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                   LAST FOUR DIGITS OF
                                   SOCIAL-SECURITY OR
                                   OTHER INDIVIDUAL
                                   TAXPAYER-I.D. NO.                                                                      BEGINNING AND
 NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                      NATURE OF BUSINESS      ENDING DATES
 Donald B. Hork                                                                                   Sells things through    2002 - present
 Enterprises                                                                                      EBay; when sale closes,
                                                                                                  purchases goods
                                                                                                  wholesale and delivers
                                                                                                  to buyer; loses money
                                                                                                  consistently

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                  ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                               ADDRESS                                                DATES SERVICES RENDERED



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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                  Document     Page 34 of 51

B7 (Official Form 7) (04/13)
7
   None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                   ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                           DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                  INVENTORY SUPERVISOR                                   (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


                                                                              NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                            RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                     NATURE OF INTEREST                               PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                     TITLE                                OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                          ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                     TITLE                                DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                        AMOUNT OF MONEY
 OF RECIPIENT,                                                        DATE AND PURPOSE                                 OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                               OF WITHDRAWAL                                    VALUE OF PROPERTY




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                Case 15-21203                  Doc 1          Filed 06/19/15 Entered 06/19/15 09:19:18                         Desc Main
                                                               Document     Page 35 of 51

B7 (Official Form 7) (04/13)
8
             24. Tax Consolidation Group.

     None    If thedebtor is a corporation, listthename andfederal taxpayer identification number of the parent corporation of anyconsolidated
      B      group for tax purposes ofwhich the debtor has been a member atany time within six years immediately preceding the commencement
             of the case.


    NAME OF PARENT CORPORATION                                                                      TAXPAYER IDENTIFICATION NUMBER (EIN)

             25. Pension Funds.


     None    If thedebtor is not an individual, listthename and federal taxpayer-identification number of anypension fund to which the debtor, asan
      B      employer, has been responsible for contributing atany time within six years immediately preceding thecommencement ofthecase.
    NAME OF PENSION FUND                                                                            TAXPAYER IDENTIFICATION NUMBER (EIN)
                                                                            ******




                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoiijg_statement of financial affairs and any attachments thereto
and that they are true and correct.


    Date June 16, 2015                                            Signatu




    Date June 16, 2015                                            Signature              W#^ J^ ft(//**C^

                 Penaltyfor makingafalse statement:Fine ofup to $500,000 or imprisonmentfor up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                  Case 15-21203                   Doc 1              Filed 06/19/15 Entered 06/19/15 09:19:18                   Desc Main
                                                                      Document     Page 36 of 51

B8 (Form 8) (12/08)

                                                              United States Bankruptcy Court
                                                                       Northern District of Illinois
            Donald Hork
 In re      janet Hork                                                                                             Case No.
                                                                                       Debtor(s)                   Chapter


                                CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
            property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                       Describe Property Securing Debt:
 -NONE-


 Property will be (check one):
       D Surrendered                                                    D Retained

 If retaining the property, I intend to (check at least one):
      • Redeem the property
       •   Reaffirm the debt
       • Other. Explain                                               (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
       • Claimedas Exempt                                                                • Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:                       Lease will be Assumed pursuant to 11
 -NONE-                                                                                                        U.S.C. § 365(p)(2):
                                                                                                               •   YES          •   NO



I declare under penalty of perjury that the above indicates my intention as to anyj)r_Qperty of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date June 16, 2015




 Date June 16,2015                                                         Signature                  <y^   ,-X t/sx/
                                                                                        Janet Horf
                                                                                        Joint Demor




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                 Case 15-21203                   Doc 1          Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                                                 Document     Page 37 of 51

                                                            United States Bankruptcy Court
                                                                    Northern District of Illinois

           Donald Hork
 Inre      Janet Hork                                                                                        Case No.
                                                                                 Debtor(s)                   Chapter      7


                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
     compensation paid to me withinone year before the filingof the petitionin bankruptcy, or agreedto be paid to me, for servicesrendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept                                                  $                    1,600.00
            Prior to the filing of this statement I have received                                        $                    1,600.00
            Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

            H Debtor              D     Other (specify):

3.    The source of compensation to be paid to me is:

            B Debtor              D     Other (specify):

4.      I I havenot agreedto share the above-disclosed compensation withanyotherpersonunlessthey are members and associates of my law firm.

        D I have agreedto share the above-disclosed compensation with a personor personswho are not membersor associates of my law firm. A
          copy of the agreement,together with a list of the names of the people sharing in the compensationis attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
                 Exemption planning; preparation and filing of reaffirmation agreements and applications as needed; avoidance
                 of liens, 341 attendance and required follow-up

6.    By agreement with the debtors), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, 2004 discovery, or any other adversary
                  proceeding.
                                                                          CERTIFICATION


      I certify that the foregoing isacomplete statement ofany agreement orarrangement for payment to me for representation ofthe debtors) in
 this bankruptcy proceeding.

 Dated:     June 16, 2015
                                                                                 Justin R. Store*
                                                                                 LaKejaw
                                                                                 6905 Green Bay Road, Ste. 101
                                                                                 Kenosha, Wi 53142
                                                                                 262-694-7300   Fax: 262-694-7301
                                                                                 rblay@lakelaw.com




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          Case 15-21203        Doc 1     Filed 06/19/15 Entered 06/19/15 09:19:18               Desc Main
                                          Document     Page 38 of 51




June 11,2015

           ATTORNEY - CLIENT LEGAL SERVICE AGREEMENT AND HANDBOOK BETWEEN
         I.AKKT.AW ("A DEBT RELIEF AGENCY"^ AND MR. AND MRS. HORK ("CLIENTS

                       RE:     Engagement Letter for Chapter 7 Bankruptcy Case

Dear Mr. and Mrs. Hork:

      Welcome to Lakelaw. We thank you for choosing us to represent you in your Chapter 7 case. We look
forward to working with you and serving your legal needs in this matter.

        We would like to offer you the following engagement agreement for your Chapter 7 bankruptcy case based
on our initial brief and preliminary analysis of your situation. Our agreement may be subject to change based on a
more detailed analysis of your case and the "MeansTest" as required by the Bankruptcy Code. We will inform you
if any such changes are required.

INTRODUCTION


        Our purpose in representing you in a case under Chapter 7 of the Bankruptcy Code is to assist you in
obtaining a discharge in bankruptcy. This will relieve you of your obligation to pay most, if not all of your debts.
We will also assist you in reaffirming, or agreeing to continue to pay, any debts you have, secured by real estate or
personal propertyyou wouldlike to keep.

       Since the Bankruptcy Code was amended in 2005, Congress has set up consumer bankruptcy cases like an
obstacle course. We can provide guidance, but you must do your part and carefully follow our instructions.
Otherwise,your case could be dismissedor you could lose your discharge.

        Under the Bankruptcy Code, clients and lawyers must prepare detailed schedules and statements to be filed
in the Bankruptcy Court. These papers will be reviewed very closely by the United States Trustee, which is a
division of the United States Department ofJustice, responsible for oversight of all bankruptcy cases. Your papers
also will be reviewed by a private Chapter 7 trustee and perhaps the court. So accuracy and honesty in all respects is
vital.


         Failure to be accurate and honest in all respects could lead to loss of your right to receive a discharge in
bankruptcy and in extreme cases couldlead to serious criminal prosecution.

        Once you decide to hire us as your bankruptcy attorneys, please let your creditors know. They cannot call
or harass you anymore. They must call us, and if they don't, we can sue them under the Fair Debt Collection
Practice Act. If you decide to hire us as, you can't use your credit cards anymore. We'll ask you if you have used
them since credit card companies may try to make you pay for recent charges even though you have filed
bankruptcy. If someone other than you is payingyour attorney's fees, please let us know. They will have to sign a
waiver recognmng that you are our client and that we report to you even though someone else is paying your fee.

        Because bankruptcy is a complex process —some say unnecessarily complex —our Agreement with you is
not just a statement of our duties to you and your duties to us and the court. It is also a guide to the process and a
          Case 15-21203         Doc 1     Filed 06/19/15 Entered 06/19/15 09:19:18                    Desc Main
                                           Document     Page 39 of 51

handbook for you to refer to in making sure that you do what you are supposed to in dealing with the bankruptcy
system, the trustee, and the bankruptcy court.

YOUR OBLIGATIONS UNDER THE BANKRUPTCY CODE:

       TheBankruptcy Code imposes some very detailed and specific obligations on you as a debtor. It isvital that
you do all of these things for you to be able to get your discharge. We will do everything we can do to do ourpart
and we'll dependon you to do everything required on yourpart.

    a You must takecreditcounseling from an approved provider within 180days prior to filing your petition, but
      before the actual day on which you file your petition

    a Youmust provide accurate and complete information for your bankruptcy petition, schedule and statement
        of financial affairs


    •   You must disclose all lawsuits you are involved in whether you are a plaintiff or defendant, even if they
        haven't started in court yet

    •   You must disclose all transfers of property to friends or relatives within the past 4 years

    •   You must disclose all transfers of anything for less than it was worth within the past 4 years

    •   You must discloseall payments to creditors 90 days before you file your bankruptcy case

    Q You must disclose all payments to friends or relatives on account of debts within the year before you file
      your bankruptcy case

    •   You must decide whether to keep, surrender, or redeem (refinance) loans secured by real estate or personal
        property and indicate that on your bankruptcy petition

    •   You must give us your most recent income tax return or tax transcript and all "pay advices" or "pay stubs"
        received in the 60 days before you file your bankruptcy petition

    •   You must cooperate fully with the bankruptcy trustee appointed to oversee your case

    •   If your case is selected for audit, you must cooperate with the auditor

    •   You must appear at the "meeting of creditors" with the trustee appointed to oversee your case, which will
        happen within 30-40 days of filing of your case

    •   You must complete any reaffirmation agreement within 45 days after the date first scheduled for your first
        meeting of creditors

    •   You must complete a financial management course — we recommend BE Adviser at
        www.beadviser.com —45 days after your first meeting ofcreditors. The fee for this course is $11.00
        thatyou willpay BEAdviser directly. Ifyou do not take the course andprovide the certificate, your
        case will be closed but not discharged. We must then reopen the case and charge you both
        attorney's fees and costs for this process.

STEP ONE: ANALYSIS OF THE "MEANS TEST"


Before you can file a Chapter 7 case —and get a discharge of all your debts:
             Case 15-21203         Doc 1     Filed 06/19/15 Entered 06/19/15 09:19:18                 Desc Main
                                              Document     Page 40 of 51
          Congress requires that you prove that your Chapter 7 case is not an "abuse" of the bankruptcy system.
People who make less than the mediian income for their family-size are not presumed to be abusing the system by
filing Chapter 7. We still have to examine your budget of income and expenses to see if your case might be
considered to be an abuse. People who have disposable income are supposed to file Chapter 13 cases in most
instances.


        People earning more than the median income are presumed to be abusing the bankruptcy system by filing
Chapter 7 unless they pass the "means test". To see whether you pass the means test, we complete a detailed
analysis. We charge you for this whether or not you decide to file a bankruptcy case. If you do file a bankruptcy
case, the charge for the "means test" analysis is applied to your overall attorney's fees for bankruptcy services.

Your First Homework Assignment:

          In order for us to determine whether you are eligible to file a Chapter 7 case, we have to analyze and
evaluate your financial situation. Andin order to do this, weare required to perform a "means test analysis." To do
this, you must provide the following documents to us.

      •      Pay stubs or payment advices from your salaried employment for the past six months.

               > If you have not been employed during this period, you must give us your unemployment records including
                 payments of unemployment benefits

               > If you are self-employed, you must give us evidence of your gross income and any business expenses
                  deducted from your gross income for the past six months

               > We must have records from the six-month period before your filing date. If we have to redo your means test
                 because your filingis delayed,we will charge additional fees

      •      Current credit report. You may obtain this from www.annualcreditreport.com

               > We highly recommend that you obtain a recent credit report from all three major credit reporting agencies
                  (Experian, Equifax, TransUnion)

      •      Completed "Means Test Questionnaire"

          If you earn less than the median income for a family your size, you "pass" the means test without the need
for additional analysis.      However, if you make more than the median income, you must provide additional
information for us to determine if you are eligible to file a Chapter 7 case.

      Here is the data we absolutely need to perform the mandatory means test analysis as prescribed by
Congress for those earning more than the median income. Please have it ready if we requestit. You maywant
to check-off each item as you gather and send your records.

      •      Last 90 days of bills that you got from your creditors regardless whether you paid them.

      •      Last 90 days of bank statements and check registers

      •      Documents regarding any sale or transfer of any property within the last 2 years

      •      Documents regarding any transfer or payments to relatives within the last 2 years

      Q Income Tax Returns for the past 3 years

      a      Copies of motor vehicle certificates of title
          Case 15-21203         Doc 1     Filed 06/19/15 Entered 06/19/15 09:19:18                Desc Main
                                           Document     Page 41 of 51


     •   Copies of mortgages recorded against yourreal estate

     •   Copies of any listing contracts foryour real estate

     •   Copies of any pension plan, IRA or other retirement accounts and data concerning any withdrawals within
         the past 6 months

     •   Copies of life insurance policies you currently own, particularly withcash surrender value

     •    Copies of any pleadings for anylawsuit involving you

     •    Copies of any financing documents for any refinancing or non-purchase money, second or third mortgage
          loans obtained with the last 3 years.

     •    Copies of the most recent bills on mortgages, auto loans, life and health insurance policies

     •    Records of actual medical expenses during the past six months.

     a    Records of tuition for private or parochial school paid during the past six months.

     •    Records concerning charitable contributions given during the past six months.

     Q Records concerninginternet or telecommunication expenses during the past six months

     •    Records concerning child support or alimonypaid or received during the past six months.

        Please provide all of this information to our Consumer Bankruptcy Coordinator as soon as possible. We
cannot even begin to work on your bankruptcy petition, statement of financial affairs or filing until we have
completed your"means test analysis." That's because we can't know for sure that you are eligible to file a Chapter 7
case until we complete your "means test analysis."

        In someinstances, Chapter 13 may be a better option, in which case, we will offer you the standard Chapter
13 Engagement Agreement and fees as prescribed by the Bankruptcy Court. If Chapter 13 is an option, we will
discuss the benefits and risks with you so you can make an informed decision. If you file a Chapter 13, the $500
means test fee is applied to your Chapter 13 case. If you choose not to file, the $500 means test fee is not
refundable.


Your Second Homework Assignment:

         You must complete the credit counseling class. We recommend www.debtorcc.org; die class costs
$9.95 andyou pay them directly.
        Both you andyour spouse, ifyour spouse is filing, must be present for the credit counseling. Spend
a full hour reviewing and discussing the materialin the course. You must complete the course and send a
responsive email after completing the course. You must have this certificate before you file.


STEP TWO: BANKRUPTCY PETITION & STATEMENT OF FINANCIAL AFFAIRS

Paying your Fee:

        Once we have completed your means test, you and we at Lakelaw want to get your case filed as soon as
possible because the "means test" accounts for your situationduring the most recent six months. If another month
          Case 15-21203           Doc 1      Filed 06/19/15 Entered 06/19/15 09:19:18                       Desc Main
                                              Document     Page 42 of 51

passes, the original means test analysis is no longer valid. We'll have to doit again taking into account your income
and expenses for the most recentmonth.

        Most clients provide basic information necessary through our online questionnaire. Please check frequently
with our Consumer Bankruptcy Coordinator to ensure that we are informed about all of your assets, debts, and
financial activities for the past several years. Don't leave out anything. You will have opportunities to talk with
yourattorneys to discuss all aspects of your case.

        During this phase, youwill have both legal questions and technical questions. Most of your questions can
be answered byour experienced and capable Consumer Bankruptcy Coordinators as well as the information on our
website. Please email legal questions you may have to any of our lawyers with whom you have worked. If a brief
phone call is needed, your lawyer will contact you.

        In general, after your initial consultation with a Lakelaw attorney, you won't need to meet personally with
your attorney until your petition is ready to be filed. At that time, you and your attorney will again review your
entire situation to be sure that everythingis in order.

FEES     &    CHARGES         FOR      SERVICES         AND      PAYMENT          TERMS        &    PERFORMANCE         OF
"STANDARD SERVICES"


        Lakelaw agrees to proceed on your behalf for $1,600.00 attorneys' fees. You must provide $335.00 for the
chapter 7 filing fee.

        The Bankruptcy Code requires us to advise you that nothing in this Agreement shall be deemed to be
advice, that you must pay an attorney's fee to a Debt Relief Agency. Moreover, Lakelaw specifically states that
Clients shall under no circumstances incur additional debt in order to satisfy Client's obligations under this
Agreement.

        WHAT LAKELAW WILL DO FOR YOU - STANDARD SERVICES:

Our fee includes compensation for the following "standard services"

•   Analysis of your financial condition;

•   Advice on seekingreliefunder Chapter 7 or Chapter 13 of the BankruptcyCode;

•   Assisting you to assemble all documents requiredto file a petition under the BankruptcyCode;

•   Advising you about the availability of exemptions under applicable law to allowyou to keep certain property even though
    you are fling abankruptcy case;
•   Assisting you in meetingall requirementsbefore making a petition for reliefunder the BankruptcyCode and in meetingall
    conditions to obtain a discharge, if you are eligible;

•   Preparingyou for examination at meeting of creditors pursuant to Section341 of the BankruptcyCode;

•   Assistingyou with reaffirmation agreements,if applicable;

•   Assisting with routine lien avoidance proceedings, if applicable —under the Bankruptcy Code, you can avoid certain
    judgments against real estate and certain liens against personal property —like a lien you may have granted to secure a
    personal loan;

•   Assist in enforcing of the automatic stay, if required, to stop creditors from collecting debts against you;
          Case 15-21203           Doc 1      Filed 06/19/15 Entered 06/19/15 09:19:18                   Desc Main
                                              Document     Page 43 of 51

•   Arranging for electronic filing of theClient's bankruptcy petition and supporting papers;

•   Communicating with your bankruptcytrustee;

•   Communicating with yourcreditors, as necessary;

•   Review of mortgage loans forTruthin Lending Actor othermortgage-related violations;

•   Pursuit of any claims underFairDebt Collection Practices or other Consumer Protection Acts

FEES CHARGABLE AFTER FILING OF CASE:

After filing your Chapter 7 Case, you agree to pay Lakelaw for services rendered due to failure to provide the
necessary information before we filed your case:

                  „ .   , .                                    $250.00 up to 6 creditors
Amendments to Schedules:                                       a-cnnnc        i   iiv      t,   ,.
                                                               550.00 for each additional 6 creditors


Service of amended schedules on creditors added:               $26.00

Fee to reopen case due to failure to obtain financial $250 plus $260 filing fee
management certificate:

Attorney time for attending 2004 exams:                        Attorney's hourly rate

Fee for failing to attend scheduled meeting of creditors        $250.00
(unless due to medical or other emergency):

ADDITIONAL SERVICES NOT INCLUDED OR COVERED BY THE AGREEMENT:

        Lakelaw may require an additional retainer for "Additional Services" beyond the "Standard Services" listed,
and is not obligated to provide additional services until after receiving this retainer.

Examples of "Additional Services" include, but are not limited to:

•   Defending claims thatyourBankruptcy Petition constitutes "Abuse" underthe Bankruptcy Code

•   Defending claims that one or more debts are non-dischargeable

•   Defending claims that you are not entitled to a discharge under the bankruptcycode

•   Defending matters arising from your failure to disclose material facts, your failure to provide required documents, any
    false statement you may make in your bankruptcy petition, schedules, Statement of Financial Affairs, or any documents
    provided or to be provided in support thereof.

       You agree to pay attorney's fees for all Additional Services at the prevailing hourly rates of the attorneys at
Lakelaw. At the present time these hourly rates are as follows:

        David P. Leibowitz                         $650/hour
        Jonathan T. Brand                          $375/hour
        Carrie A. Zuniga                           S325/hour
        Ryan A. Blay                               $325/hour
        Justin R. Storer                           $325/hour
         Case 15-21203         Doc 1     Filed 06/19/15 Entered 06/19/15 09:19:18                Desc Main
                                          Document     Page 44 of 51


STEP THREE: THE "341 MEETING"

      Once we file your case, your responsibilities are to address reaffirmation agreements, take a financial
management course, and attend a 341 Meeting. You must attend this meeting. If you do not attend, the case may
be dismissed, and you will not be refunded any portion of our fees or costs.

You must bring to the following documents to your 341 Meeting:

         •   Driver's license, state ID card or passport showing your identity and photograph

         •   Social security card or other official document showing your social security number

       Please arrive at the appointed location at least 15 minutes prior to your meeting so that your attorney can
briefyou about this meeting. Also, read the "Bankruptcy Information Sheet," which is available at the meeting for
your convenience. The trustee may ask you whether you have done so.

        If you fail to attend the 341 Meeting, we will charge an additional $250 unless you document an emergency
or medical reason for not having attended.

STEP FOUR: DISCHARGE


        In most instances, you will have nothing further to do after the 341 Meeting. Sometimes, the trustee or the
United States Trustee may ask for additional information. Each case is different. Your lawyer will consult with you
if anything further is required. In most cases, you will receive your discharge from the clerk of the bankruptcy court
60 days after your 341 Meeting.

ACKNOWLEDGEMENT OF RECEIPT OF DISCLOSURES

      Client acknowledges that Client has received copies of all Disclosure Documents attached to this
Agreement, allof which posted on our website at www.barikruptcy.lakelaw.com/disclosure.htrnl

These documents include:
•   TheClerk's Notice mandated bySection 342(b) &Section 5213(a) of theBankruptcy Code
•   "Important Information About Bankruptcy Assistance Services From an Attorney or Bankruptcy Petition Preparer"
    mandated by Section528(b) of the Bankruptcy Code
•   "Notice to BeProvided Pursuant to Section 528(c) of theBankruptcy Code."
•   "Notice to BeProvided Pursuant to Section 528(a) of the Bankruptcy Code"

THE BANKRUPTCY CODE REQUIRES US TO EXPLICITLY& CONSPICUOUSLYINFORM YOU
THAT:


"WE ARE A DEBT RELIEF AGENCY. WE HELP PEOPLE FILE FOR BANKRUPTCY RELIEF
UNDER THE BANKRUPTCY CODE"


       You understand that Lakelaw is unwilling torepresent you without an advance payment retainer. You agree
this is an "advance payment retainer" andit is placed immediately in our general account.

       Atyour option, you may require us to treat this as a security retainer. The choice of retainer is yours alone.
The reason we propose to treat this as an advance payment retainer is that this is perhaps the first time and only
time you will be our client. We have not made any inquiries into your credit-worthiness and you desire our
immediate attention to this matter. We will immediately or soon thereafter be utilizing the funds provided in this
advance retainer in any event. We agree that it is to your advantage that we give our immediate and dedicated
          Case 15-21203        Doc 1     Filed 06/19/15 Entered 06/19/15 09:19:18               Desc Main
                                          Document     Page 45 of 51

attention to this matter.

        Accordingly, by executing this agreement, you agree the retainer is an advance payment retainer.

        You understand that filing bankruptcy can only discharge debt that you owe - and debt another individual
owes, in satisfaction of your debts, will not be discharged.

If You Decide Not to File Your Bankruptcy Case:

If you decide not to file your bankruptcy case, you understand and agree that we will have expended substantial
time and effort on your behalf. Under these circumstances, we will bill you for our time at our standard hourly
rates, ranging from $650/hour for Mr. Leibowitz to $100/hour for our paralegals. The maximum that we will bill
you will be the funds you have paid us until the date you determine not to file your case and so advise us. Any
unearned fees will be paid. Costs not utilized will be applied to fees earned. Otherwise, fees and costs will be
refunded to you.



 /s/ Justin R. Storer                               06/08/2015
 Lakekw-AfastttfSL Storer    ,a     /?              Date

                                                   £-/£-A
                                                    Date


          •a^jrsl A. ^-A_                             J-/L-/S
                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18        Desc Main
                                                                  Document     Page 46 of 51
B 201A (Form 201A) (6/14)



                                                     UNITED STATES BANKRUPTCY COURT
                                                      NORTHERN DISTRICT OF ILLINOIS
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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                 Case 15-21203                   Doc 1           Filed 06/19/15 Entered 06/19/15 09:19:18      Desc Main
                                                                  Document     Page 47 of 51
Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


            Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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             Case 15-21203             Doc 1       Filed 06/19/15 Entered 06/19/15 09:19:18                            Desc Main
                                                    Document     Page 48 of 51

B 20IB (Form 20IB) (12/09)
                                                United States Bankruptcy Court
                                                       Northern District of Illinois
         Donald Hork
 In re   janet Hork                                                                                  Case No.
                                                                       Debtor(s)                     Chapter       7

                           CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                         Certification of Debtor
         I (We), the debtor(s),affirmthat I (we) have receivedand read the attached notice, as required by § 342(b) of the Bankruptcy
Code.

Donald Hork
Janet Hork
Printed Name(s) of Debtors)                                                    S^gnatufe'bf Deorof      \ / ufrC^ Date

Case No. (ifknown)                                                       %*•         y^{Zn^S>i jJ-/<Jt ^June 16, 2015
                                                                               Signatureof Joint Debtor (if any)          Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official FormBl. ExhibitB on page 2 of Form Bl containsa certification by the debtor'sattorneythat the attorney has giventhe
noticeto the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form Bl also include this certification.
                 Case 15-21203                   Doc 1             Filed 06/19/15 Entered 06/19/15 09:19:18          Desc Main
                                                                    Document     Page 49 of 51



                                                            United States Bankruptcy Court
                                                                     Northern District of Illinois

            Donald Hork
 In re     Janet Hork                                                                                     Case No.
                                                                                   Debtors)               Chapter




                                                   VERIFICATION OF CREDITOR MATRIX


                                                                                         Number of Creditors:




           The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
           (our) knowledge.




 Date:     June 16,2015
                                                                        )onal
                                                                        Signature of Debtor

 Date:     June 16, 2015
                                                                       Janet Hork
                                                                                               q<7<\ g.   ^ A4^X
                                                                        Signature of Debtcfr




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    Case 15-21203   Doc 1   Filed 06/19/15 Entered 06/19/15 09:19:18   Desc Main
                             Document     Page 50 of 51

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                      B E Atlas Co.
                      4300 N. Kilpatrick Ave
                      Chicago, IL 60641


                      BAC Home Loans Servicing
                      18 Tapo Canyon
                      Simi Valley, CA 93063


                      BMO Harris Bank Loan Servicing
                      PO Box 2880
                      Chicago, IL 60690


                      Bruce Johnson
                      2200 N. Pulaski
                      Chicago, IL 60639


                      Citgo/Citibank
                      PO Box 6497
                      Sioux Falls, SD 57117


                      DSNB/Macy's
                      PO Box 8218
                      Mason, OH 45050


                      Ehrenberg & Egan
                      321 N. Clark
                      #1430
                      Chicago, IL 60654


                      Harris T&S
                      PO Box 755
                      Chicago, IL 60690


                      SOS Surplus, Inc.
                      1832 Eastwood
                      Highland Park, IL 60035


                      Tahoe Automotive
                      1798 W Hintz Rd
                      Wheeling, IL 60090


                      Village of Arlington Heights
                      33 S. Arlington Heights Road
                      Arlington Heights, IL 60005
Case 15-21203   Doc 1   Filed 06/19/15 Entered 06/19/15 09:19:18   Desc Main
                         Document     Page 51 of 51


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